               THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CIVIL CASE NO. 1:11-cv-00159-MR-DLH



KIMBERLY S. SISK, individually and )
as mother and natural guardian of  )
S.A.S., a minor,                   )
                                   )
                      Plaintiff,   )
                                   )
            vs.                    )                 ORDER
                                   )
                                   )
ABBOTT LABORATORIES, an            )
Illinois corporation,              )
                                   )
                      Defendant.   )
_______________________________ )

       THIS MATTER is before the Court on the Defendant’s Motion to

Exclude Expert Testimony [Doc. 136].

I.     PROCEDURAL BACKGROUND

       The Plaintiff Kimberly S. Sisk, individually and as mother, natural

guardian and guardian ad litem of S.A.S., a minor, brings this action

against the Defendant Abbott Laboratories, alleging that the Plaintiff’s

minor son developed meningitis as a result of consuming contaminated

powdered infant formula (PIF) manufactured by the Defendant.            In her

Second Amended Complaint, the Plaintiff asserted claims for negligence (in



     Case 1:11-cv-00159-MR-DLH   Document 162   Filed 02/10/14   Page 1 of 5
manufacturing, design, and warning), breach of express warranties, breach

of implied warranty, and unfair and deceptive trade practices against the

Defendant. [Doc. 75].

        On August 2, 2012, the Court granted the Defendant’s motion to

dismiss the Plaintiff’s claims for breach of express warranties, breach of

implied warranty, and unfair and deceptive trade practices, leaving only the

negligence claim (Count One) for trial. [Doc. 90 (accepting M&R)].

        The Defendant now moves to exclude certain opinions of the

Plaintiff’s disclosed experts. The Court held a hearing on this motion on

November 21, 2013. This matter is currently scheduled for trial during the

March 10, 2014 trial term.

II.     STANDARD OF REVIEW

        The Defendant’s motion to exclude challenges the reliability and

admissibility of certain expert opinions pursuant to Federal Rule of

Evidence 702 and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.

579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993).           Rule 702 provides as

follows:

             If scientific, technical, or other specialized
             knowledge will assist the trier of fact to understand
             the evidence or to determine a fact in issue, a
             witness qualified as an expert by knowledge, skill,
             experience, training, or education, may testify
                                       2



      Case 1:11-cv-00159-MR-DLH   Document 162   Filed 02/10/14   Page 2 of 5
             thereto in the form of an opinion or otherwise, if (1)
             the testimony is based upon sufficient facts or data,
             (2) the testimony is the product of reliable principles
             and methods, and (3) the witness has applied the
             principles and methods reliably to the facts of the
             case.

Fed. R. Evid. 702. The trial judge must act as a gatekeeper, admitting only

that expert testimony which is relevant and reliable. Daubert, 509 U.S. at

589, 113 S.Ct. 2786. With regard to scientific knowledge, the trial court

initially must determine whether the reasoning or methodology used is

scientifically valid and is applied properly to the facts at issue in the trial.

Id. at 592-93, 113 S.Ct. 2786. To aid the Court in this gatekeeping role, the

Supreme Court has identified several key considerations, including whether

the expert opinion can be tested; whether it has been subjected to peer

review; the error rate of the methods that the expert employed; the

existence and maintenance of standards used in the expert’s methods; and

whether the expert’s methods are generally accepted in the scientific

community.     Id. at 592-94, 113 S.Ct. 2786; Anderson v. Westinghouse

Savannah River Co., 406 F.3d 248, 261 (4th Cir. 2005).

      The objective of Daubert’s gatekeeping requirement is to ensure “that

an expert, whether basing testimony upon professional studies or personal

experience, employs in the courtroom the same level of intellectual rigor

                                       3



   Case 1:11-cv-00159-MR-DLH      Document 162    Filed 02/10/14   Page 3 of 5
that characterizes the practice of an expert in the relevant field.” Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 152, 119 S.Ct. 1167, 143 L.Ed.2d

238 (1999). The Court has broad discretion in determining whether the

Daubert factors reasonably measure reliability in a given case. Id. at 153,

119 S.Ct. 1167.

III.     DISCUSSION

         The Defendant seeks to exclude the opinions of Plaintiff’s five liability

experts: Dr. Catherine Donnelly, a Ph.D in food safety; Dr. Scott Donnelly

(“S. Donnelly”), a Ph.D in microbiology and former employee of Wyeth; Dr.

Jim Farmer (“Farmer”), a Ph.D in microbiology; Dr. Gerald Goldhaber

(“Goldhaber”), a Ph.D in human factors and consultant on labeling issues;

and Dr. Janine Jason (“Jason”), a pediatrician.          Specifically, Defendant

seeks to exclude all five experts’ opinions on the appropriate standards of

care for manufacturing, designing, and labeling PIF in 2004; the causation

opinions of Dr. Catherine Donnelly, Dr. Farmer, and Dr. Jason; and the

defect opinion of Dr. Scott Donnelly.

         After carefully reviewing the submissions of the parties and

considering the arguments of counsel, the Court finds that the Plaintiff’s

experts are duly qualified to proffer opinions on the issues of the relevant

standards of care, alleged defect, and causation. The Court further finds –
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       Case 1:11-cv-00159-MR-DLH    Document 162    Filed 02/10/14   Page 4 of 5
albeit with some reservations -- that the reasoning and methodology

underlying the challenged opinions are scientifically valid and apply proper

scientific principles.   Further, the Court finds that the experts have

established adequate factual foundations for the challenged opinions.

      While the Defendant criticizes various aspects of the Plaintiff’s

experts’ analyses, the Court finds that such arguments go more to the

weight to be afforded these experts’ testimony rather than its admissibility.

BorgWarner, Inc. v. Honeywell Intern., Inc., 750 F.Supp.2d 596, 613

(W.D.N.C. 2010). “Vigorous cross examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the traditional

and appropriate means of attacking shaky but admissible evidence.”

Daubert, 509 U.S. at 596, 113 S.Ct. 2786.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion to

Exclude Expert Testimony [Doc. 136] is DENIED WITHOUT PREJUDICE

to challenges during trial to the jury’s consideration of the experts’ opinions.

      IT IS SO ORDERED.                    Signed: February 10, 2014




                                       5



   Case 1:11-cv-00159-MR-DLH     Document 162        Filed 02/10/14    Page 5 of 5
